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m j Case 1: O4- --cr 10079- .]DT Document 36 Filed 05/16/05 Page 1 of 3 Page|D 4
/ ,

lN THE UNITED STATES DISTRICT COURT

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UN`ITED STATES OF AMERICA,

Plaintiff,
V. * CR. NO. 04- 0079- T
]EREMIAH SANFORD

Defendant.

 

MoTioN 'ro ALTER oR AMEND iUr)GEi/rayn/

pursuant to Rule 36 of the

  
  
      
     
   
  
  
    
 

 

Comes now the Defendant and moves this Honorable Co

Federal Rules of Criminal Procedure to alter or amend the ju ement entered in this matter on

May 6 2005. In support of this Motion Defendant vvou state.
ed that a recommendation Would be made

1. At sentencing in this matter the Court

that Defendant be given a psychological/ment evaluation by the Bui'eau of Prisons upon

beginning his custodial sentence Such e uation Would concern Defendant’s multiple

mental/emotional impairments and w Defendant is to be housed by the Bureau of Prisons and

What services he vvill require
t entered in this matter on May 6, 2005 does not include this

 

2. The judge
_ c:
recommendation m :."1_
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3. efense counsel has consulted With government counsel and thercj§:FZO_Oppositio ntg:<)
. r gm CD f
the relief equested. 551-giant § §
§§ _Y£c;)_ _:: §
C.'J
§ du

Premises considered, Defendant moves this Honorable Court to alter of@§ndh th

ent in this matter to correctly include the above recommendation, as set out in the

Judg
sentencing hearing MOT|O N ANTE D,__
DATE: AIEQQJ was
QMM,, a M

Thls documementaredonwe mdmsmh¢»mpl|aneo
with note ss and/or aa{b) FRch on __£EU_~_O_§__ ,
y James D. Todd
U.S. Distrtct Judge

 

Case 1:04-cr-10079-.]DT Document 36 Filed 05/16/05 Page 2 of 3 Page|D 48

Respectfuiiy submitted, this the l Q~ day er metz ,2005

        

c____ K_l lt
M. Dianne Smot ers [011874]
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Jackson, T_N 3830l
Phone: (731)427-2556

CERT[FICATE OF SERVICE

-The undersigned hereby certifies that a true and exact copy of the foregoing Was served
upon all interested parties by either hand delivery or by mailing sarne, postage prepaid to the
following: -

Mr. James Powell

Assistant United States Attorney
109 South Highland, Suite 300
Jackson, Tennessee, 38301

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X\M in

M. Dianne Smotliers

"TDISRIC COURT - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case l:04-CR-10079 Was distributed by faX, mail, or direct printing on
May l7, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

